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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION

WILLIE EARL CURRY                                                                      PLAINTIFF

v.                                                                     No. 1:22CV134-GHD-JMV

WARDEN JOSH DAVIS, ET AL.                                                           DEFENDANTS


                   ORDER APPOINTING COUNSEL FOR PETITIONER

      The court, sua sponte, considers appointment of counsel for the petitioner, Willie Earl

Curry, in prosecuting his petition for a writ of habeas corpus under 28 U.S.C. § 2254. He is

proceeding pro se and has been granted leave to proceed in forma pauperis based on the pauper’s

affidavit submitted with his petition. This court is empowered to appoint counsel for a habeas

corpus petitioner whenever it “determines that the interests of justice so require . . . .” 18 U.S.C.

§ 3006A(a)(2)(B). If an evidentiary hearing is to be held, the court is required to appoint

counsel. Rule 8(c), Rules Governing § 2254 Cases.

       Mr. Curry initially filed the instant petition on the court’s standard form for challenging

the conditions of his confinement under 42 U.S.C. § 1983. He has had difficulty identifying and

framing the issues in this case. However, in his lengthy submissions, he has provided documents

that appear to show that the trial court in his state criminal case enhanced his sentence1 using the

convictions of another inmate also named Willie Curry. Erroneous information in Curry’s

Tennessee Department of Corrections (“TDOC”) file included three convictions of another

inmate named Willie Curry (who died in 1997). Docs. 13-1, 13-9. Those convictions were later

included in an Order Amending Indictment to charge Curry as a habitual offender in his



1
  The trial court enhanced Mr. Curry’s sentence under Mississippi’s lesser habitual offender
statute, Miss. Code Ann. § 99-19-81.
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Mississippi criminal case. Id. Curry was eventually convicted and sentenced under the habitual

offender statute to serve ten years (MDOC custody) for attempted exploitation of a vulnerable

adult, five years (MDOC custody) for conspiracy to exploit a vulnerable adult, and one year

(Madison County Sheriff’s Department custody) for possession of hydrocodone with

acetaminophen. Curry v. Settlemires, 3:19CV251-SA-JMV (Doc. 5 at 3-4).2, 3 These were to be

served consecutively and without the possibility of parole. Id. A January 20, 2022, letter from

an official with the TDOC confirmed that the information in the petitioner’s TDOC records had

been combined with another inmate of the same name – and that the other inmate’s Tennessee

convictions had erroneously been attributed to the petitioner. Doc. 13-1.

              Effect of Filing a Successive Petition for a Writ of Habeas Corpus

       The Antiterrorism and Effective Death Penalty Act requires that before a district court

files a second or successive petition, “the applicant shall move in the appropriate court of appeals

for an order authorizing the district court to consider the application.” 28 U.S.C. §

2244(b)(3)(A). Thus, this court does not have jurisdiction to decide the issues in this case and

must (once counsel has filed an amended petition, identifying and elucidating the relevant issues)

transfer the petition to the Fifth Circuit Court of Appeals (which will decide whether the

petitioner may move forward with the instant successive habeas corpus petition). As discussed

below, however, if the petitioner has not exhausted state remedies as to this issue, counsel may

have to move quickly to begin that process through a State application for post-conviction


2
  The court may take judicial notice of prior proceedings involving the petitioner, both state and
federal. Moore v. Estelle, 526 F.2d 690, 694 (5th Cir. 1976).
3
  The Magistrate Judge’s Report and Recommendation and the State’s motion to dismiss in the
previous federal petition provide a detailed account of the facts and procedural history in this
matter. Neither the court nor the State, however, had the benefit of the January 2022 TDOC
letter confirming that the convictions in question cannot be attributed to the petitioner in this
case.
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collateral relief – which would toll the federal habeas corpus limitations period. See 28 U.S.C. §

2244(d)(2). Otherwise, by the time this court and the Fifth Circuit complete their respective

reviews, the petitioner’s filing deadline may have expired.

                                    Exhaustion of State Remedies

        It is not clear on the current record whether Mr. Curry has exhausted his state remedies as

to this habeas corpus claim. A petitioner seeking habeas corpus relief under 28 U.S.C. § 2254 must

exhaust all claims in state court under § 2254(b)(1) prior to requesting federal habeas corpus relief.

Sterling v. Scott, 57 F.3d 451, 453 (5th Cir. 1995) (citing Rose v. Lundy, 455 U.S. 509 (1982)). Counsel

could also aid in exploring this issue.

                                           Limitations Period

        Further, the petitioner faces a one-year period of limitation within which he must bring his

federal habeas corpus claim. 28 U.S.C. § 2244(d)(1). In this case, the period would run from “the

date which the factual predicate [for the claim] could have been discovered through the exercise of

due diligence.” 28 U.S.C. § 2244(d)(1)(D). Thus, it appears that the statute began to run on the date

the petitioner received a copy of the January 20, 2022, letter from the TDOC confirming the errors in

his inmate records from Tennessee. The precise initial date is not apparent from the documents

currently in the record, but it could be as early as January of 2022. If so, then the federal limitations

period could expire as soon January of 2023.

        That limitations period is tolled, however, during the “time … which a properly filed

application for State post-conviction or other collateral review with respect to the pertinent judgment

or claim is pending.” 28 U.S.C. § 2244(d)(2). Counsel would be of assistance in determining whether

the petitioner has already exhausted his state remedies – and whether a State application for post-

conviction collateral relief should be expedited to toll the limitations period and preserve the
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petitioner’s claims. This is relevant because the filing of a federal petition for a writ of habeas corpus

(such as the present one) does not toll the one-year limitations period. Duncan v. Walker, 533 U.S.

167, 181–82, 121 S. Ct. 2120, 2129, 150 L. Ed. 2d 251 (2001). As such, in the absence of

tolling, the petitioner’s deadline to file could expire in January (within six weeks from the date of

this order).

                                              Conclusion

        The court finds that appointed counsel would greatly assist Mr. Curry in framing these and

other issues and presenting arguments – thus aiding the court in addressing those issues. It is,

therefore ORDERED that petitioner’s Motion for Appointment of Counsel is GRANTED. The

court therefore appoints Thomas C. Levidiotis as counsel for the petitioner, to assist him in pursuing

federal habeas corpus relief, including whether the petitioner has exhausted state remedies as to his

claims – and whether the petitioner should seek state post-conviction collateral relief.

        SO ORDERED, this, the 9th day of December, 2022.



                                                 __________________________________________
                                                 SENIOR UNITED STATES DISTRICT JUDGE
